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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION

                                CASE NO.: 3:16-cv-01249-J-PDB

PATRICIA ANN JOHNSON, AS PERSONAL
REPRESENTATIVE OF THE ESTATE OF
KELLY BLACK AND ON BEHALF OF
SURVIVORS PATRICIA ANN
JOHNSON AND GROVER BOSTICK,
INDIVIDUALLY,

        Plaintiffs,

v.

EZX, LLC, A FOREIGN LIMITED LIABILITY
COMPANY AND MATTHEW M. RAU, AN
INDIVIDUAL,

      Defendants.
_______________________________/

                          PLAINTIFFS’ NOTICE OF SETTLEMENT

       The Plaintiffs, PATRICIA ANN JOHNSON, AS PERSONAL REPRESENTATIVE OF

THE ESTATE OF KELLY BLACK AND ON BEHALF OF SURVIVORS PATRICIA ANN

JOHNSON AND GROVER BOSTICK, INDIVIDUALLY, by and through his undersigned

attorneys, file their Notice of Settlement, and state:

       1.       This matter was resolved between the parties at mediation on September 18, 2017.

       2.       Accordingly, the Plaintiffs will file their Notice of Voluntary Dismissal with

                Prejudice.

       Dated this 7th day of November, 2017.




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                                          COKER, SCHICKEL, SORENSON,
                                          POSGAY & IRACKI, P.A.

                                          /s/ Daniel A. Iracki
                                          _____________________________________
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                                          Attorneys for Plaintiff

                              CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
via electronic mail to Joseph T. Kissane, Esq. (Joe.kissane@csklegal.com) and Daniel Duello,
Esq. (Daniel.duello@csklegal.com) this 7th day of November, 2017.


                                            /s/ Daniel A. Iracki, Esq.
                                          Attorney




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